1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 1 of 40 Page ID
                                             #:76361
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 2 of 40 Page ID
                                             #:76362
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 3 of 40 Page ID
                                             #:76363
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 4 of 40 Page ID
                                             #:76364
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 5 of 40 Page ID
                                             #:76365
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 6 of 40 Page ID
                                             #:76366
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 7 of 40 Page ID
                                             #:76367
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 8 of 40 Page ID
                                             #:76368
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 9 of 40 Page ID
                                             #:76369
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 10 of 40 Page ID
                                              #:76370
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 11 of 40 Page ID
                                              #:76371
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 12 of 40 Page ID
                                              #:76372
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 13 of 40 Page ID
                                              #:76373
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 14 of 40 Page ID
                                              #:76374
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 15 of 40 Page ID
                                              #:76375
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 16 of 40 Page ID
                                              #:76376
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 17 of 40 Page ID
                                              #:76377
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 18 of 40 Page ID
                                              #:76378
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 19 of 40 Page ID
                                              #:76379
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 20 of 40 Page ID
                                              #:76380
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 21 of 40 Page ID
                                              #:76381
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 22 of 40 Page ID
                                              #:76382
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 23 of 40 Page ID
                                              #:76383
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 24 of 40 Page ID
                                              #:76384
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 25 of 40 Page ID
                                              #:76385
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 26 of 40 Page ID
                                              #:76386
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 27 of 40 Page ID
                                              #:76387
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 28 of 40 Page ID
                                              #:76388
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 29 of 40 Page ID
                                              #:76389
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 30 of 40 Page ID
                                              #:76390
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 31 of 40 Page ID
                                              #:76391
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 32 of 40 Page ID
                                              #:76392
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 33 of 40 Page ID
                                              #:76393
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 34 of 40 Page ID
                                              #:76394
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 35 of 40 Page ID
                                              #:76395
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 36 of 40 Page ID
                                              #:76396
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 37 of 40 Page ID
                                              #:76397
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 38 of 40 Page ID
                                              #:76398
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 39 of 40 Page ID
                                              #:76399
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-8 Filed 05/27/08 Page 40 of 40 Page ID
                                              #:76400
